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  8               IN THE UNITED STATES DISTRICT COURT
  9            FOR THE CENTRAL DISTRICT OF CALIFORNIA
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      SOCIAL POSITIONING INPUT                 CASE NO.: 2:21-cv-00519-CAS(Ex)
12    SYSTEMS, LLC,
                                               ORDER JOINT STIPULATION AND
13                       Plaintiff,            ORDER OF DISMISSAL
14    v.
15
      CLEARPATHGPS, INC.,
16
                         Defendant.
17
18
19         After considering the Parties’ Stipulation of Dismissal, IT IS
20 ORDERED THAT, pursuant to FRCP 41(a), the above-referenced action is
21 dismissed with prejudice.
22         SO ORDERED this 30th day of April, 2021.
23
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                                           __                                __
25                                         United States District Judge
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                       JOINT STIPULATION AND ORDER OF DISMISSAL
